
668 S.E.2d 344 (2008)
STATE of North Carolina
v.
John Christopher GREEN.
No. 385P08.
Supreme Court of North Carolina.
October 9, 2008.
Duncan McCormick, Lillington, for Green.
David N. Kirkman, Assistant Attorney General, C. Colon Willoughby, Jr., District Attorney, for State of NC.

ORDER
Upon consideration of the petition filed on the 19th day of August 2008 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals: "Denied by order of the Court in conference, this the 9th day of October 2008."
